                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,
               Plaintiff,

       v.                                                Case No. 03-CR-194

LARON RAMSEY,
                     Defendant.


                                   DECISION AND ORDER

       I sentenced defendant Laron Ramsey to 78 months in prison, followed by 3 years of

supervised release, on his guilty plea to conspiracy to distribute 5 kg or more of cocaine and

50 g or more of crack cocaine. He completed the prison sentence and commenced supervision

in December of 2010, and now moves for early termination of his supervised release.

       Pursuant to 18 U.S.C. § 3583(e)(1), the district court may grant early termination of

supervised release if: (1) the defendant has served at least one year of supervision; (2) the

government is given notice and an opportunity to be heard; and (3) termination is in the interest

of justice based on the defendant’s conduct and the pertinent sentencing factors under 18

U.S.C. § 3553(a). See United States v. Medina, 17 F. Supp. 2d 245, 245-46 (S.D.N.Y. 1998);

see also United States v. Lowe, 632 F.3d 996, 998-99 (7th Cir. 2011). These standards are

met in the present case. Defendant has served more than one year, the government responds

that it does not oppose his request, and I find termination just under the circumstances.

       The district court possesses wide discretion in determining whether early termination

would be appropriate. See United States v. Hook, 471 F.3d 766, 771 (7th Cir. 2006).

Nevertheless, courts have generally held that the conduct of the defendant sufficient to warrant



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early termination should include more than simply following the rules of supervision; otherwise,

every defendant who avoided revocation would be eligible for early termination. Instead, courts

have generally granted early termination only in cases involving new or unforeseen

circumstances, cases where the defendant’s behavior has been exceptionally good, or cases

where supervision interferes with the defendant’s rehabilitation. See, e.g., United States v.

Kay, 283 Fed. Appx. 944, 946-47 (3d Cir. 2008); United States v. Lussier, 104 F.3d 32, 36 (2d

Cir. 1997); Medina, 17 F. Supp. 2d at 246-47.

       Defendant makes the required showing here. As discussed in his request, in addition

to maintaining employment, satisfying all financial obligations, and complying with all rules of

supervision, defendant has engaged in significant volunteer work and re-connected with his

family, becoming engaged to the mother of his two daughters and obtaining partial custody of

his son. He further indicates that the travel restrictions associated with supervision interfere

with his employment. Finally, given his progress while on supervision, his lack of any prior

record, and the absence of ongoing treatment needs, I find that early termination would be

consistent with the factors in 18 U.S.C. § 3553(a)(1) and (2)(B), (C) & (D).

       THEREFORE, IT IS ORDERED that the defendant’s request for early termination of

supervised release (R. 811) is GRANTED.

       Dated at Milwaukee, Wisconsin, this 22nd day of February, 2012.

                                          /s Lynn Adelman
                                          _______________________________________
                                          LYNN ADELMAN
                                          District Judge




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